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 1
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 5
     Attorney for Plaintiff
 6
                              UNITED STATES DISTRICT COURT
 7
                               FOR THE DISTRICT OF ARIZONA
 8
     Kimberly Driesen,                 ) Case No.
 9
                                       )
10   Plaintiff,                        ) COMPLAINT AND TRIAL BY JURY
                                       ) DEMAND
11
            vs.                        )
12                                     )
     The Receivable Management Services)
13
     Corporation dba RMS,              )
14                                     )
                                       )
15
     Defendant.
16

17                                   NATURE OF ACTION
18
           1.     This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer Protection Act
20

21   (“TCPA”), 47 U.S.C. § 227.

22                               JURISDICTION AND VENUE
23
           2.     This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §
24

25
     227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).

26         3.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
27
     the acts and transactions giving rise to Plaintiff’s action occurred in this State and this
28




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 1
     district, where Plaintiff resides in this State and this district, and where Defendant

 2   transacts business in this State and this district.
 3
                                               PARTIES
 4
            4.      Plaintiff, Kimberly Driesen (“Plaintiff”), is a natural person who at all
 5

 6   relevant times resided in the State of Arizona, County of Mohave, and City of Fort
 7
     Mohave.
 8
            5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 9

10          6.      Defendant, The Receivable Management Services Corporation dba RMS
11
     (“Defendant”) is an entity who at all relevant times was engaged, by use of the mails and
12
     telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined by
13

14   15 U.S.C. §1692a(5).
15          7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
16
                                     FACTUAL ALLEGATIONS
17

18          8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt

19   owed or due, or asserted to be owed or due a creditor other than Defendant.
20
            9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
21

22
     owed or due a creditor other than Defendant, arises from a transaction in which the

23   money, property, insurance, or services that are the subject of the transaction were
24
     incurred primarily for personal, family, or household purposes.
25
            10.     Defendant uses instrumentalities of interstate commerce or the mails in a
26

27   business the principal purpose of which is the collection of any debts, and/or regularly
28




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 1
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be

 2   owed or due another.
 3
            11.    Within one (1) year preceding the date of this Complaint, Defendant made
 4
     and/or placed a telephone call to Plaintiff’s cellular telephone number, in effort to collect
 5

 6   from Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be owed or
 7
     due a creditor other than Defendant.
 8
            12.    Within one (1) year preceding the date of this Complaint, Defendant
 9

10   willfully and knowingly utilized an automatic telephone dialing system to make and/or
11
     place a telephone call to Plaintiff’s cellular telephone number, in effort to collect from
12
     Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be owed or due a
13

14   creditor other than Defendant.
15          13.    Plaintiff sent Defendant written communication dated September 3, 2010
16
     via certified mail demanding that Defendant cease and desist all telephonic
17

18   communication with Plaintiff.

19          14.    Despite this demand, Defendant continued to place telephone calls to
20
     Plaintiff, including, but not limited to, the following dates and times: September 7, 2010
21

22
     @ 6:35 P.M., September 8, 2010 @ 3:09 P.M., September 9, 2010 @ 6:25 P.M.,

23   September 9, 2010 @ 6:33 P.M., September 13, 2010 @ 6: 12 P.M., September 13, 2010
24
     @ 6:26 P.M., September 13, 2010 @ 7:15 P.M., September 13, 2010 @ 7:37 P.M.,
25
     September 13, 2010 @ 8:12 P.M., September 13, 2010 @ 8:30 P.M., September 14, 2010
26

27   @ 4:41 P.M, and September 18, 2010 @ 8:46 A.M. (15 U.S.C. § 1692c(a)(1), §
28
     1692d(5)).



                                              Complaint - 3
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 1
            15.      Defendant placed non-emergency calls to Plaintiff’s cellular telephone on

 2   September 3, 2010 @ 3:11 P.M., September 3, 2010 @ 6:15 P.M., September 7, 2010 @
 3
     6:35 P.M., September 8, 2010 @ 3:09 P.M., September 9, 2010 @ 6:25 P.M., September
 4
     9, 2010 @ 6:33 P.M., September 13, 2010 @ 6: 12 P.M., September 13, 2010 @ 6:26
 5

 6   P.M., September 13, 2010 @ 7:15 P.M., September 13, 2010 @ 7:37 P.M., September
 7
     13, 2010 @ 8:12 P.M., September 13, 2010 @ 8:30 P.M., September 14, 2010 @ 4:41
 8
     P.M, and September 18, 2010 @ 8:46 A.M. without the prior express consent of Plaintiff,
 9

10   using an automatic telephone dialing system and/or an artificial or pre-recorded voice.
11
     (47 U.S.C. 227(b)(1)(A)(iii)).
12
            16.      Defendant’s actions constitute conduct highly offensive to a reasonable
13

14   person.
15                                        COUNT I--FDCPA
16
            17.      Plaintiff repeats and re-alleges each and every allegation contained above.
17

18          18.      Defendant violated the FDCPA as detailed above.

19          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20
                  a) Adjudging that Defendant violated the FDCPA;
21

22
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

23                   amount of $1,000.00;
24
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
25
                  d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
26

27                   action;
28




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 1
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

 2                   allowed under the law;
 3
                  f) Awarding such other and further relief as the Court may deem just and
 4
                     proper.
 5

 6                                        COUNT II-TCPA
 7
            19.      Plaintiff repeats and re-alleges each and every allegation contained above.
 8
            20.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and
 9

10   knowingly utilizing an automatic telephone dialing system to make and/or place a
11
     telephone call to Plaintiff’s cellular telephone number.
12
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
13

14                a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);
15                b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
16
                     227(b)(3)(B), in the amount of $500.00 per violation;
17

18                c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

19                   227(b)(3)(C), in the amount of $1,500.00 per violation;
20
                  d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);
21

22
                  e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this

23                   action;
24
                  f) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
25
                     allowed under the law.
26

27

28




                                               Complaint - 5
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 1
                                    TRIAL BY JURY

 2
              Plaintiff is entitled to and hereby demands a trial by jury.
 3
              Respectfully submitted this 17th day of December, 2010
 4

 5                           By: s/ Marshall Meyers
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                             Attorney for Plaintiff
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                                         Complaint - 6
